     Case 3:17-cv-02366-BAS-KSC      Document 647    Filed 12/15/20   PageID.55855   Page
                                            1 of 4



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                        UNITED STATES DISTRICT COURT
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                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18                                (San Diego)
19
      AL OTRO LADO, Inc., et al.,                Case No. 3:17-cv-02366-BAS-KSC
20
                               Plaintiffs,       Hon. Cynthia A. Bashant
21

22                       v.                   NOTICE OF MOTION AND
                                              MOTION FOR PROTECTIVE
23    CHAD F. WOLF, Acting Secretary, U.S.
                                              ORDER CONCERNING ASYLUM
      Department of Homeland Security, in his
24                                            INFORMATION OF POTENTIAL
      official capacity, et al.,
                                              PRELIMINARY-INJUNCTION
25
                                 Defendants   CLASS MEMBERS
26

27                                               Hearing Date: January 19, 2021
28                                               NO ORAL ARGUMENT UNLESS
                                                 REQUESTED BY THE COURT
     Case 3:17-cv-02366-BAS-KSC      Document 647      Filed 12/15/20   PageID.55856     Page
                                            2 of 4



 1            MOTION FOR CONFIDENTIALITY PROTECTIVE ORDER
 2            CONCERNING ASYLUM INFORMATION OF POTENTIAL
 3                 PRELIMINARY-INJUNCTION CLASS MEMBERS
 4          PLEASE TAKE NOTICE that on January 19, 2021, Defendants will and
 5    hereby do move for the entry of a protective order to allow Defendants to produce
 6    the asylum information of preliminary-injunction class members and potential
 7    preliminary-injunction class members contained in the government’s records by
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      placing reasonable limits on Plaintiffs’ use and disclosure of that information. The
 9
      motion is based on the attached memorandum of point and authorities, declaration
10
      of counsel, and exhibits.
11
            The parties, through counsel, have conferred extensively regarding the relief
12
      sought in this motion from November 11, 2020 to December 8, 2020. See
13
      Declaration of Katherine J. Shinners ¶¶ 4-14. Based on these conferences,
14
      Defendants understand that Plaintiffs do not oppose the entry of a protective order
15
      governing the use and treatment of individuals’ asylum information in principle,
16
      but they do object to certain of Defendants’ proposed restrictions on disclosure as
17
      set forth in the attached briefing and declaration. See id. ¶¶ 14-15.
18

19
      Dated: December 15, 2020                Respectfully submitted,
20

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23

24                                            WILLIAM C. PEACHEY
                                              Director
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26                                            SAMUEL P. GO
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28                                            /s/ Katherine J. Shinners
                                              KATHERINE J. SHINNERS

                                                                         MOT. AND NOTICE OF
                                                 1                      MOT. FOR PROTECTIVE
                                                                                     ORDER
     Case 3:17-cv-02366-BAS-KSC   Document 647    Filed 12/15/20   PageID.55857   Page
                                         3 of 4



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                                                                    MOT. AND NOTICE OF
                                            2                      MOT. FOR PROTECTIVE
                                                                                ORDER
     Case 3:17-cv-02366-BAS-KSC     Document 647      Filed 12/15/20   PageID.55858    Page
                                           4 of 4



 1                             CERTIFICATE OF SERVICE
 2                                No. 17-cv-02366-BAS-KSC
 3          I certify that I served a copy of this document on the Court and all parties by
 4    filing this document with the Clerk of the Court through the CM/ECF system, which
 5    will provide electronic notice and an electronic link to this document to all counsel
 6    of record.
 7

 8
      DATED: December 15, 2020               Respectfully submitted,
 9
                                             /s/ Katherine J. Shinners
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                                                                        MOT. AND NOTICE OF
                                               3                       MOT. FOR PROTECTIVE
                                                                                    ORDER
